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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    OLIVIA C. WIGGINS,

                Plaintiff,                              CIVIL ACTION FILE
    v.                                                  NO. ______________

    SALSON LOGISTICS, INC.; CHRIS
    MUSUSU; and PRIME PROPERTY &
    CASUALTY INSURANCE, INC.,

                Defendants.


                              PETITION FOR REMOVAL

         COME NOW Defendants Salson Logistics, Inc. (“Salson”), Chris Mususu

(“Mususu”), and Prime Property & Casualty Insurance, Inc. (“Prime”)1, by consent

of all defendants, and by and through undersigned counsel, hereby remove the

above-styled action to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

                                            1.

         Plaintiff initiated this action in the State Court of Gwinnett County, Georgia,

where it was styled Olivia C. Wiggins v. Salson Logistics, Inc; Chris Mususu; and




1
 Prime asserts and reserves the affirmative defense of lack of personal jurisdiction
under Fed. R. Civ. P. 12(b)(2).
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Prime Property & Casualty Insurance, Inc., Civil Action Number 23-C-03005-S3.

(Exhibit A).

                                         2.

      Service on Salson was filed in the State Court of Gwinnett County on May 19,

2023. As such, this petition is timely. See 28 U.S.C. § 1446(b).

                                         3.

      Service on Chris Mususu was filed in the State Court of Gwinnett County on

May 20, 2023. As such, this petition is timely. See 28 U.S.C. § 1446(b).

                                         4.

      Prime Property & Casualty Insurance, Inc has purportedly been served on

May 22, 2023, but no return of service has yet been filed with the clerk. As such,

this petition is timely. See 28 U.S.C. § 1446(b).

                                         5.

      Plaintiff seeks more than $75,000, thereby satisfying the amount in

controversy for federal court jurisdiction under 28 U.S.C. § 1332(a). (Exhibit B).2

                                         6.

      Plaintiff is a citizen of Georgia, residing in Fulton County.



2
 Only the actual demand letter, and not any of the supporting documents included
with the letter, are included as Exhibit B.

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                                            7.

      Prime is a foreign insurance corporation, incorporated in the State of Illinois

with its principal place of business located in Sandy, Utah. Prime is therefore a

citizen of Illinois and Utah for diversity of jurisdiction purposes.

                                            8.

      Salson is a foreign corporation, incorporated in the State of New Jersey with

its principal place of business located at 888 Doremus Avenue, Newark, New Jersey

and is therefore a citizen of New Jersey.

                                            9.

      Mususu is a citizen of North Carolina, residing in Mecklenburg County.

                                            10.

      There is complete diversity of citizenship between plaintiff and all defendants.

                                            11.

      All named defendants have consented in the removal to federal court.

                                            12.

      Because this action was brought in the State Court of Gwinnett County, it is

properly removed to the Atlanta Division of the United States District Court for the

Northern District of Georgia, pursuant to 28 U.S.C. §§ 1441(a) and 1446.




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                                        13.

      Salson will file with the Clerk of Court for the State Court of Gwinnett County

a Notice of Filing Petition for Removal pursuant to 28 U.S.C. § 1446(d), attached

hereto as Exhibit C.

      WHEREFORE, Salson, Mususu, and Prime request that this Court allow the

removal of this action to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

      Respectfully submitted this 16th day of June, 2023.
                                          FREEMAN MATHIS & GARY, LLP

                                          /s/ Wayne S. Melnick
                                          WAYNE S. MELNICK
                                          Georgia Bar No. 501267

                                          /s/ David M. Harding
                                          DAVID M. HARDING
                                          Georgia Bar No. 708591

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                                          Inc. and Chris Mususu
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                       [signatures continued on next page]




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                                        WEINBERG WHEELER HUDGINS
                                        GUNN & DIAL, LLC

                                        /s/ Stephen J. Rapp*
                                        STEPHEN J. RAPP
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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 13, 2022, I electronically filed PETITION FOR

REMOVAL with the Clerk of the Court using the CM/ECF system which will

automatically send notification of such filing to the following attorneys of record:

                                  Trevor E. Brice
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                               Stephen J. Rapp
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                              Atlanta, GA 30326
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      This 16th day of June, 2023.

                                          /s/ Wayne S. Melnick
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                                          Georgia Bar No. 501267
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                                          Attorney for Defendant Salson Logistics,
                                          Inc. and Chris Mususu

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